Case 6:22-cv-00043-NKM-RSB Document 11 Filed 09/23/22 Page 1 of 2 Pageid#: 62




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Lynchburg Division

 POWER HOME SOLAR, LLC D/B/A                        )
 PINK ENERGY,                                       )
                                                    )
      Plaintiff,                                    )
                                                    )
 v.                                                 )      Case No. 6:22-cv-00043
                                                    )
 GENERAC POWER SYSTEMS, INC.,                       )
                                                    )
      Defendant.                                    )

                 DEFENDANT’S MOTION TO DISMISS AND
      COMPEL ARBITRATION OR, IN THE ALTERNATIVE, TRANSFER VENUE

         Pursuant to Federal Rule of Civil Procedure 12 and the Federal Arbitration Act, 9 U.S.C.

§§ 3 and 4, Defendant Generac Power Systems, Inc. (“Generac”) respectfully moves for an Order

(1) compelling Plaintiff Power Home Solar, LLC (“PHS”) to arbitrate its claims against Generac

and (2) dismissing PHS’s Complaint, or, in the alternative, staying further litigation of those claims

pending the outcome of arbitration. In the event this Court does not dismiss the litigation, Generac

moves in the alternative to transfer venue to the United States District Court for the Southern

District of New York pursuant to 28 U.S.C. § 1404. The grounds for this Motion are set forth in

a contemporaneously filed memorandum.

 Dated: September 23, 2022                          Respectfully submitted,

                                                    /s/ Glenn W. Pulley
                                                    Glenn Pulley (VSB No.15677)
                                                    Amanda Morgan (VSB No. 70210)
                                                    GENTRY LOCKE
                                                    801 Main Street, 11th Floor
                                                    Lynchburg, VA 24504
                                                    Telephone: 434-455-9940
                                                    Facsimile: 540-983-9400
                                                    pulley@gentrylocke.com
                                                    morgan@gentrrylocke.com
Case 6:22-cv-00043-NKM-RSB Document 11 Filed 09/23/22 Page 2 of 2 Pageid#: 63




                                                 Michael Gill (pro hac vice forthcoming)
                                                 Michael Olsen (pro hac vice forthcoming)
                                                 Gina Jordt (pro hac vice forthcoming)
                                                 MAYER BROWN LLP
                                                 71 South Wacker Drive
                                                 Chicago, Illinois 60606
                                                 (312) 782-0600 Telephone
                                                 (312) 701-7711 Facsimile
                                                 mgill@mayerbrown.com
                                                 molsen@mayerbrown.com
                                                 gjordt@mayerbrown.com

                                                 Elspeth Hansen (pro hac vice forthcoming)
                                                 MAYER BROWN LLP
                                                 Two Palo Alto Square, Suite 300
                                                 3000 El Camino Real
                                                 Palo Alto, California 94306
                                                 (650) 331-2000 Telephone
                                                 (650) 331-2060 Facsimile
                                                 ehansen@mayerbrown.com

                                                 Andrew Spadafora (pro hac vice forthcoming)
                                                 MAYER BROWN LLP
                                                 1999 K Street NW
                                                 Washington, DC 20006
                                                 (202) 263-3000 Telephone
                                                 (202) 263-3300 Facsimile
                                                 aspadafora@mayerbrown.com

                                                 Attorneys for Generac Power Systems, Inc.



                               CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of September 2022, a true and correct copy of the
foregoing was filed with the Clerk of Court using the CM/ECF system, which provided electronic
service to all counsel of record.

                                                           /s/ Glenn W. Pulley
